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                                 UNITED STATES DISTRICT COURT
9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11   MICHEL AYRES,                                   Case No.: 5:17-cv-05417-LHK
12                    Plaintiff,
13        v.                                         STIPULATION FOR DISMISSAL OF
                                                     DEFENDANT EQUIFAX, INC.;
14
                                                     [PROPOSED] ORDER
15
     EQUIFAX, INC., ET AL.,

16                    Defendants.

17

18

19
               TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20
               IT IS HEREBY STIPULATED by and between plaintiff Michel Ayres and defendant
21
     Equifax, Inc. that Equifax, Inc. be dismissed from this action with prejudice pursuant to
22
     Federal Rules of Civil Procedure, Rule 41(a)(2), and that each party shall bear its own
23
     attorneys’ fees and costs.
24
     //
25
     //
26
     //
27
     //
28




               STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -1-
               Case 5:17-cv-05417-LHK Document 36 Filed 01/24/18 Page 2 of 2




1
     DATED: January 23, 2018                               Sagaria Law, P.C.
2
                                                    By:    /s/ Elliot Gale
3                                                          Elliot Gale
4
                                                           Attorney for Plaintiff Michel Ayres

5

6    DATED: January 23, 2018                               Nokes & Quinn, APC
7
                                                    By:    /s/ Thomas P. Quinn, Jr.
8                                                          Thomas P. Quinn, Jr.
                                                           Attorney for Defendant Equifax, Inc.
9

10

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this

12
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.

13

14
     /s/ Elliot Gale

15

16

17
                                          [PROPOSED] ORDER

18
             Pursuant to the stipulation of the Parties, Equifax, Inc. is dismissed with prejudice.

19
             IT IS SO ORDERED.

20

21

22
     DATED:            January 24, 2018
23
                                                           Hon. Lucy H. Koh
24                                                         UNITED STATES DISTRICT JUDGE
25

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27

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            STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -2-
